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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                         )
                                               )      CASE NO. 19 B 18280
         Karyn Harding-Ragland,                )      HON. DONALD R. CASSLING
                                               )      CHAPTER 13
                                               )
         DEBTOR.                               )

                                      NOTICE OF MOTION

To:      Thomas Hooper, Chapter 13 Trustee, 55 E. Monroe Street, STE 3850, Chicago, IL
         60603;

         Sandra A. Franco, Aronberg Goldgehn Davis & Garisma, 330 N. Wabash, Suite 1700
         Chicago, IL 60611, representing State Bank of Texas, as successor in interest to the Federal
         Deposit Insurance Corporation, as Receiver for Seaway Bank and Trust Company;

         See attached Service List.

      PLEASE TAKE NOTICE that on May 26, 2022, at 9:30 a.m., I shall appear before the
Honorable Donald R. Cassling or any judge sitting in this judge stead, and present the Motion to
Approve Sale of Property, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

        To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 161 414 7941 and the
password is 619. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.
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                                CERTIFICATE OF SERVICE

         The undersigned, an attorney, certifies that he served a copy of this notice and the
attached motion, on each entity shown on the attached list at the address shown and by the method
indicated on the list via regular U.S. Mail with postage prepaid from the mailbox located at 20 S.
Clark Street, Chicago, IL 60603 on May 12, 2022.

                                                            /s/ Andrew Ames

                                                            Attorney for Debtor
                                                            The Semrad Law Firm, LLC
                                                            20 S. Clark Street, 28th Floor
                                                            Chicago, IL 60603
                                                            (312) 913-0625
                                                            aames@semradlaw.com
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Label Matrix for local noticing                     PRA Receivables
                                                         Document   Management,
                                                                            PageLLC 3 of 7         U.S. Bankruptcy Court
0752-1                                              PO Box 41021                                   Eastern Division
Case 19-18280                                       Norfolk, VA 23541-1021                         219 S Dearborn
Northern District of Illinois                                                                      7th Floor
Eastern Division                                                                                   Chicago, IL 60604-1702
Thu May 12 13:48:52 CDT 2022
AT&T                                                ATG CREDIT                                     Advocate Christ Hospital
PO Box 105262                                       1700 W CORTLAND ST STE 2                       4440 95th Street
Atlanta, GA 30348-5262                              CHICAGO, IL 60622-1131                         Oak Lawn, IL 60453-2699



American Express National Bank                      Bureaus Investment Group Portfolio No 15 LLC   (p)CAPITAL ONE
c/o Becket and Lee LLP                              c/o PRA Receivables Management, LLC            PO BOX 30285
PO Box 3001                                         PO Box 41021                                   SALT LAKE CITY UT 84130-0285
Malvern PA 19355-0701                               Norfolk VA 23541-1021


CERTIFIED SERVICES INC                              COMENITY BANK/ASHSTWRT                         COMENITY BANK/CARSONS
PO Box 177                                          PO BOX 182789                                  1314 PINELOG ROAD
Waukegan, IL 60079-0177                             COLUMBUS, OH 43218-2789                        AIKEN, SC 29803-6072



COMENITY BANK/TORRID                                CREDIT MANAGEMENT LP                           CREDIT ONE BANK NA
PO BOX 182685                                       PO Box 118288                                  PO BOX 98875
COLUMBUS, OH 43218-2685                             Carrollton, TX 75011-8288                      LAS VEGAS, NV 89193-8875



(p)CREDITORS’ DISCOUNT & AUDIT CO   CDA             Check n Go                                     (p)CHICAGO DEPARTMENT OF LAW
ATTN KEN ARMSTRONG                                  800 N. Kedzie Ave                              ATTN BANKRUPTCY UNIT
415 E MAIN ST                                       Suite #225                                     121 N LASALLE ST SUITE 400
PO BOX 213                                          Chicago, IL 60651-4105                         CHICAGO IL 60602-1264
STREATOR IL 61364-0213

City of Chicago - Parking and red Light Tick        City of Chicago Water Department               ComEd
Department of Revenue - PO Box 88292                333 S State, Suite 300                         3 Lincoln Center
Chicago, IL 60680                                   Chicago, IL 60604-3982                         Bankruptcy Section
                                                                                                   Oakbrook Terrace, IL 60181-4204


Commonwealth Edison Company                         DIVERSIFIED                                    Department Stores National Bank
Bankruptcy Department                               Po Box 1391                                    c/o Quantum3 Group LLC
1919 Swift Drive                                    Southgate, MI 48195-0391                       PO Box 657
Oak Brook, IL 60523-1502                                                                           Kirkland, WA 98083-0657


Ditech Financial LLC                                Ditech Financial LLC                           Enterprise Car Rental
PO Box 12740                                        PO Box 6154                                    5012 E. Central Texas Expy
Tempe AZ 85284-0046                                 Rapid City, SD 57709                           Killeen, TX 76543-5504



FIRST PREMIER BANK                                  Harris & Harris LTD                            (p)ILLINOIS DEPARTMENT OF REVENUE
c/o Jefferson Capital Systems LLC PO Box            111 West Jackson Boulevard Suite 400           BANKRUPTCY UNIT
c/o Linda Dold                                      Chicago, IL 60604-4135                         PO BOX 19035
Saint Cloud, MN 56302                                                                              SPRINGFIELD IL 62794-9035
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IRS                                                Illinois Lending
                                                        Document            Page 4 of 7          LVNV FUNDING LLC
Po Box 7346                                        408 N. Wells                                PO Box 10587
Philadelphia, PA 19101-7346                        Chicago, IL 60610                           Greenville, SC 29603-0587



LVNV Funding, LLC                                  (p)DSNB MACY S                              MIDLAND FUNDING
Resurgent Capital Services                         CITIBANK                                    PO Box 13105
PO Box 10587                                       1000 TECHNOLOGY DRIVE MS 777                Roanoke, VA 24031-3105
Greenville, SC 29603-0587                          O FALLON MO 63368-2222


MIDLAND FUNDING LLC                                Medical Payment Data                        (p)NATIONWIDE CREDIT AND COLLECTION INC
PO BOX 2011                                        1550 N NORTWEST HWY STE 403                 ATTN BOB BECK
WARREN MI 48090-2011                               PARK RIDGE, IL 60068-1463                   815 COMMERCE DR
                                                                                               SUITE - 270
                                                                                               OAK BROOK IL 60523-8852

NewRez LLC d/b/a Shellpoint Mortgage Servici       Northwestern Hospital                       (p)PEOPLES GAS LIGHT & COKE COMPANY
P.O. Box 10826                                     P.O. Box 73690                              200 EAST RANDOLPH ST
Greenville, SC 29603-0826                          Chicago, IL 60673-7690                      CHICAGO IL 60601-6433



PORTFOLIO RECOV ASSOC                              (p)PORTFOLIO RECOVERY ASSOCIATES LLC        Premier Bankcard, Llc
POB 41067                                          PO BOX 41067                                Jefferson Capital Systems LLC Assignee
Norfolk, VA 23541-1067                             NORFOLK VA 23541-1067                       Po Box 7999
                                                                                               Saint Cloud Mn 56302-7999


Retina Associates                                  Rush Hospital                               STATE BANK OF TEXAS
2425 W 22nd St, STE 207                            1700 W Van Buren # 161                      11950 Webb Chapel Road
Oak Brook, IL 60523-4623                           Chicago, IL 60612-3228                      Dallas TX 75234-7724



SYNCB/JCP                                          SYNCB/SAMS CLUB                             SYNCB/TJX COS DC
PO BOX 965007                                      Po Box 960013                               PO BOX 965015
Orlando, FL 32896-5007                             Orlando, FL 32896-0013                      ORLANDO, FL 32896-5015



Symphony of Crestwood                              Synchrony Bank                              UIC Hospital
14255 S Cicero Ave                                 c/o PRA Receivables Management, LLC         1740 West Taylor Street
Midlothian, IL 60445                               PO Box 41021                                Chicago, IL 60612-7232
                                                   Norfolk, VA 23541-1021


(p)VASCULAR SPECIALISTS                            Andrew B Carroll                            Anthony J Kudron
ATTN MARIA TANQUILUT                               The Semrad Law Firm                         The Semrad Law Firm, LLC
20060 GOVERNORS DR                                 20 S Clark Street                           20 S. Clark St., Suite 2800
SUITE 102                                          Ste Floor 28                                Chicago, IL 60603-1811
OLYMPIA FIELDS IL 60461-1099                       Chicago, IL 60603-1811

John P Wonais                                      Karyn Harding-Ragland                       Patrick S Layng
Wonais Law, LLC                                    1031 W 109th Pl                             Office of the U.S. Trustee, Region 11
11070 S. Western Ave., STE 9                       Chicago, IL 60643-3737                      219 S Dearborn St
Chicago, IL 60643-3928                                                                         Room 873
                                                                                               Chicago, IL 60604-2027
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Thomas H. Hooper                                          Document     Page 5 of 7
Office of the Chapter 13 Trustee
55 E. Monroe St., Suite 3850
Suite 3850
Chicago, IL 60603-5764



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAPITAL ONE BANK USA N                                CREDITORS DISCOUNT & A                               City Of Chicago Department of Finance
PO BOX 85520                                          415 E MAIN ST                                        C/O Arnold Scott Harris P.C.
RICHMOND, VA 23285                                    STREATOR, IL 61364                                   111 W Jackson Blvd Suite 600
                                                                                                           Chicago, IL 60604


(d)City of Chicago Department of Finance              IDOR-Bankruptcy Section                              (d)Illinois Department of Revenue
Utility Billing & Customer Service Divis              PO Box 19035                                         Bankruptcy Section, P.O. Box 19035
c/o Arnold Scott Harris P.C.                          C/O Bankruptcy Unit                                  Springfield, IL 62794-9035
111 W. Jackson Ste. 600                               Springfield, IL 62794
Chicago, IL 60604

MACYS/DSNB                                            NATIONWIDE CREDIT & CO                               PEOPLES GAS LIGHT & COKE COMPANY
9111 DUKE BLVD                                        815 COMMERCE DR STE 270                              200 EAST RANDOLPH STREET
MASON, OH 45040                                       OAK BROOK, IL 60523                                  CHICAGO, ILLINOIS 60601



(d)Peoples Gas                                        Portfolio Recovery Associates, LLC                   (d)Portfolio Recovery Associates, LLC
200 E. Randolph                                       c/o Ashley Stewart                                   c/o Carsons
Chicago, IL 60601                                     POB 41067                                            POB 41067
                                                      Norfolk VA 23541                                     Norfolk VA 23541


(d)Portfolio Recovery Associates, LLC                 (d)Portfolio Recovery Associates, LLC                Vascular Specialists
c/o Jc Penney                                         c/o Sams Club                                        20060 Governors Dr
POB 41067                                             POB 41067                                            #10
Norfolk VA 23541                                      Norfolk VA 23541                                     Olympia Fields, IL 60461




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)NewRez LLC d/b/a Shellpoint Mortgage Servi         (u)State Bank of Texas, as successor in inter        End of Label Matrix
                                                                                                           Mailable recipients   60
                                                                                                           Bypassed recipients    2
                                                                                                           Total                 62
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                           )
                                                 )     CASE NO. 19 B 18280
         Karyn Harding-Ragland,                  )     HON. DONALD R. CASSLING
                                                 )     CHAPTER 13
                                                 )
         DEBTOR.                                 )

                 MOTION TO APPROVE SHORT SALE OF PROPERTY

         Karyn Harding-Ragland, Debtor, by and through Debtor’s attorneys, The Semrad Law

Firm, LLC, moves this Honorable Court to enter an Order approving the Debtor to proceed in the

sale of property. Debtor states the following:


         1.    Debtor respectfully requests this Motion be heard on shortened notice.


         2.    On June 27, 2019, Debtor filed the above captioned voluntary petition for relief

               under Chapter 13 of the United States Bankruptcy Code.

         3.    Debtor’s Chapter 13 Plan was confirmed on March 4, 2020.

         4.    Debtor wishes to sell the property commonly known as 1031 West 109th Place,

               Chicago, Illinois 60643. State Bank of Texas approved a short sale of the said

               property. They will release the mortgage on the property and dismiss the pending

               foreclosure action, provided that they receive the amount of $33,036.90. That the

                State Bank of Texas is requiring that the closing occurring before May 31, 2022.

               Please see attached Exhibit A for the letter. After all costs and taxes are paid, Debtor

               will receive no fund from the sale of the property,

         5.    Debtor has entered into an agreement to sell the property for $50,000.00. Please see

               attached Exhibit B for the Multi-Board Residential Real Estate Contract. Please see
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              attached Exhibit C for Closing Statement. Please see attached Exhibit D for the pre-

              approval letter of the buyer Diego Lopez.

       6.     Debtor respectfully requests this Honorable Court to enter an Order approving

              Debtor’s Sale of Property located at 1031 West 109th Place, Chicago, Illinois

              60643.

       7.     Debtor has filed the instant case in good faith.



WHEREFORE, the Debtor prays this Honorable Court for the following relief:


       A.     That this Honorable Court approve Debtor’s Sale of Property located at 1031

              West 109th Place, Chicago, Illinois 60643 for $50,000.00.

       B.     That this Motion be heard on shortened notice.

       C.     For such other relief as the Court deems fair and proper.

                                                            Respectfully Submitted,

                                                            /s/ Andrew Ames____

                                                            Attorney for the Debtor

                                                            The Semrad Law Firm, LLC
                                                            20 S. Clark Street, 28th Floor
                                                            Chicago, IL 60603
                                                            (312) 913-0625
